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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                     BEAUMONT DIVISION



UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §            NO. 1:10-CR-110
                                                  §
LISA LATOY LEE                                    §


       ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

       After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11 with

consent of all parties, United States Magistrate Judge Earl S. Hines reported his findings, conclusions

and recommendations regarding defendant’s plea of guilty to: Count One of the Information in

in the above-numbered case.
       The magistrate judge accepted defendant's guilty plea, recommends that defendant be

adjudged guilty of the offense(s) to which he pleaded guilty, and recommends that the court defer

acceptance or rejection or defendant’s plea agreement until after reviewing the presentence report.

       No party objects to the magistrate judge’s findings and conclusions, and the court is of the

opinion that they should be and are hereby ADOPTED. Further, the court RATIFIES the

magistrate judge’s acceptance of the guilty plea. Accordingly, it is ORDERED:

       1.      Defendant is adjudged GUILTY of the offense(s) alleged in:
                   Count One of the Information, a violation of 18 U.S.C. Section 4.


       2.      The court [ ] accepts defendant’s plea agreement [ ✔ ] will defer a decision to
               accept or reject defendant’s plea agreement until the court reviews the presentence
               report.

       SIGNED this the 7 day of June, 2011.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge
